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 CASE NUMBER: 2:19-CR-1-1                               DATE:                       January 16, 2020
                                                        LOCATION:                   Marshall, Texas
 USA
                                                        JUDGE:                      Judge Rodney Gilstrap
 Lucas Machicek for Jim Noble
 Attorney

 VS.                                                   DEPUTY CLERK:    Jan Lockhart
                                                       CRT. REPORTER:   Shelly Holmes
 Mark McLean Farmer                                    USPO:            Bobby Long for Keith Wallace
 Defendant                                             INTERPRETER:
 Scott Rectenwald                                      BEGIN: 1:35 p.m. ADJOURN: 1:50 p.m.
 _____________________________________________________________________________________________
                                              SENTENCING MINUTES
 ☒       Sentencing held -- Defendant sworn.
 ☒       Court adopts presentence report in its entirety.
 ☒       Defendant allocuted

             Count       Custody       Fine       Restitution      Sup.       CC/CS       W/CT        Special
                                                                   Rel.                               Assess.
          1 and 2 of     12           waived N/A                   5                                  $200.00
          Information    months                                    years**
                         as to
                         Ct.1 and
                         60
                         months
                         as to Ct
                         2*
          *The term of imprisonment consists of 12 months on Count 1 and 60 months on Count 2 of the
          Information terms to run consecutively
          ** The term of supervised release consists of terms of 3 years on Count 1 and 5 years on Count
          2—terms to run concurrently
 ☒       The Court recommends to the Bureau of Prisons that the defendant receive appropriate drug treatment while
         imprisoned.
 ☒       Defendant must report in person to the probation office in the district to which the defendant is released within
         72 hours of release from the custody of the Bureau of Prisons.
 ☒       The Defendant must not commit another federal, state or local crime and must comply with the standard
         conditions that have been adopted by this Court. In addition, the defendant must comply with all applicable
         mandatory and special conditions set forth herein.
 ☒       Defendant must provide the probation officer with access to any requested financial information for purposes
         of monitoring the defendant’s sources of income.
 ☒       Defendant must participate in a program of testing and treatment for substance abuse and follow the rules
         and regulations of that program until discharged. The probation officer, in consultation with the treatment
         provider, will supervise the defendant’s participation in the program. The defendant must pay any cost
         associated with treatment and testing.
 ☒       Defendant must cooperate in collection of DNA.
 ☒       The defendant is ineligible for all federal benefits listed in 21 U.S.C. § 862(d) for a period of 5 years from the
         date of this order.
 ☒       The Court recommends that the Bureau of Prisons place the Defendant in its facility located in Texarkana,
         Texas.
 ☒       Counts remaining in the Indictment are dismissed.
 ☒       Defendant advised of limited rights to appeal and court appointed counsel.
 ☒       Defendant remanded to the custody of the U.S. Marshal’s Service
